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                                 New York, NY

                                                                         1
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      UNITED STATES OF AMERICA, ex rel,

      VEN-A-CARE, FLORIDA KEYS, INC.,

                                 Plaintiffs,

                                 Case No. 07-10248

                    -against-

      BOEHRINGER INGELHEIM CORPORATION,

      et al.,

                                 Defendants.

      --------------------------------------------x



                                 May 19, 2009

                                 9:00 a.m.



                          CONFIDENTIAL

                Deposition of JONATHAN R. MACEY, taken at

      the offices of Kirkland & Ellis, Citigroup Center,

      153 East 53rd Street, New York, New York, before

      Georgette K. Betts, a Certified Shorthand

      Reporter, Registered Professional Reporter and

      Notary Public within and for the States of New

      York and New Jersey.




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 1      Q. And the documents -- you possessed the          1      Q. Thank you.
 2   documents in hard copy?                               2      A. -- submission.
 3      A. Correct.                                        3      Q. That helps clarify things.
 4      Q. Did anybody help you review them?               4          Move ahead to the conference call on
 5      A. No.                                             5   February 23rd, what does the entry "document
 6      Q. Did anybody help you review, draft or           6   review" mean?
 7   edit your report in any way, shape or form, other     7      A. Document review means I reviewed
 8   than attorneys at Kirkland & Ellis?                   8   documents. I read material, depositions,
 9      A. No.                                             9   documents, the material that we previously
10      Q. Just to be clear, did you take notes at        10   discussed that comprise Exhibit Number 3.
11   any point in time in your review of the documents?   11      Q. In any of these conference calls that
12      A. No.                                            12   are reflected with Kirkland & Ellis, did you,
13      Q. Over the next two days, February 16th          13   prior to or during one of those calls, at any time
14   and February 17th the invoice reflects a             14   did you send a copy of your report to defense
15   conference call with defense counsel lasting five    15   counsel?
16   and a half and 8.25 hours. Who was on those          16      A. No.
17   calls?                                               17          MR. FAUCI: I think we're at a natural
18          MS. RIVERA: Wait, I don't think you're        18   time for a two-minute break.
19   characterizing that correctly. It says conference    19             (Recess.)
20   call with K&E and document review. Conference        20   BY MR. FAUCI:
21   call K&E, document review, and document drafting     21      Q. As I understand it you've been retained
22   those periods of time.                               22   by defendants in this case to serve as an expert
                                                     43                                                        45
 1           MR. FAUCI: I wasn't aware that I              1   witness; is that correct?
 2   characterized them other than as conference calls     2      A. Yes.
 3   with Kirkland & Ellis.                                3      Q. What is your area of expertise?
 4           MS. RIVERA: Right. I'm saying there's         4      A. My areas of expertise are corporate
 5   additional descriptions of what happened here in      5   governance, corporate control, ordinary and
 6   that time.                                            6   standard business practices among parent,
 7           MR. FAUCI: The document will speak for        7   subsidiaries and affiliate corporations, and
 8   itself.                                               8   economic and public policy related to corporate
 9       Q. Who was on those February 16th and             9   groups and relationships among parent, subsidiary
10   February 17th conference calls?                      10   and affiliate corporations.
11       A. Okay. Just so the record is clear,            11      Q. What do you mean by corporate
12   because I'm afraid my invoice may not be a model     12   governance?
13   of clarity given the previous few minutes            13      A. Corporate governance refers to all of
14   discussion, these are meant to be separate items     14   the institutions and mechanisms that go into
15   in the sense that there was a conference call with   15   determining how decision making and controls
16   K&E semicolon and separate by myself document        16   within corporations occur.
17   review. So I did not engage in a document review     17      Q. Are corporate governance and corporate
18   with Kirkland & Ellis either -- on any of these      18   control different concepts?
19   calls that I specifically -- that I can remember.    19      A. Yes.
20   So the conference call would have lasted a very      20      Q. What do you mean by corporate control?
21   short period of time and the document review would   21      A. So corporate control means the issue of
22   be the major component of this time --               22   who controls the decision making within a company.


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                                                    46                                                        48
 1       Q. And is it fair to say that corporate           1       A. Well, I think, essentially, the
 2   governance -- well, what is corporate governance      2   corporate governance issues described in the
 3   then?                                                 3   remainder of that paragraph there. Issues related
 4       A. So corporate governance is the                 4   to the relationships among the various entities
 5   institutions, mechanisms and processes that relate    5   that are named, you know, BIRI, BIC, BIPI, Roxane
 6   to it, influence decision making and control.         6   and whether they operated as separate and
 7       Q. And corporate control is the issue of          7   independent corporate entities.
 8   who makes decisions?                                  8          I also analyzed whether these
 9       A. Right. So you can think of corporate           9   relationships were consistent with ordinary and
10   control as kind of a who, and corporate governance   10   customary business practices as well as sound,
11   as kind of a how.                                    11   good public policy related to corporate
12       Q. Based on your work in this case, do you       12   governance. And then as explained in
13   hold certain opinions about the defendants'          13   subparagraphs A to E these are kind of further
14   corporate governance?                                14   corporate governance issues that I opined about.
15       A. Yes.                                          15       Q. Your opinions in this case relate to the
16       Q. What are those opinions?                      16   interaction and relationships among the defendant
17       A. Well there are a number of opinions,          17   corporations; is that correct?
18   essentially they -- just for the sake of trying to   18       A. Well among others, that's certainly part
19   be precise and complete, they're the opinions that   19   of my opinion, yes.
20   are generally described on pages 4 and 5 of my       20       Q. The four defendant corporations being
21   report and then other opinions as those opinions     21   Roxane Laboratories, Inc., Boehringer Ingelheim
22   are sort of explained and elaborated upon in the     22   Roxane, BIPI and BIC?

                                                    47                                                        49
 1   subsequent pages of the report.                       1       A. Yes.
 2          MR. FAUCI: Why don't we just introduce         2       Q. Are you offering opinions regarding the
 3   your report as an exhibit.                            3   corporate governance of any other companies or
 4             (Whereupon, expert report of                4   entities within the Boehringer Ingelheim family of
 5   Jonathan R. Macey, was marked as Exhibit Macey 005    5   companies?
 6   for identification, as of this date.)                 6       A. Well in the course of my document review
 7      Q. Is this a true and accurate copy of your        7   and formulating my opinion I also examined the
 8   expert report?                                        8   corporate governance of an additional corporation
 9      A. Yes, it's a true and accurate copy of my        9   which was part of this corporate group called Ben
10   expert report without the attachments.               10   Venue Incorporated. So I have -- so some of my
11      Q. Is that your signature on page 37?             11   opinions, as discussed in the report, also relate
12      A. Yes, it is.                                    12   to that corporate entity.
13      Q. If I can direct your attention to              13       Q. Did you consider Boehringer Ingelheim
14   paragraph 2 of your report, it states that you       14   Services Center at all in forming your opinions?
15   have been asked to provide your opinion regarding    15       A. Yes.
16   issues of corporate governance related to the        16       Q. Can you think of any other corporate
17   interaction and relationships between the four       17   entity that you considered in forming your
18   defendant corporations.                              18   opinions in this case other than the four
19          Do you see that?                              19   defendants, Ben Venue, and Boehringer Ingelheim
20      A. Yes, I do.                                     20   Service Center?
21      Q. What issues of corporate governance were       21       A. Not offhand, no.
22   you asked to provide opinions?                       22       Q. Further down in paragraph 2 of your


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 1   report it states that the purpose of your opinion   1        Q. You examined the relationship between
 2   is to analyze and, where appropriate, draw          2     BIPI and BIC, correct?
 3   conclusions about whether the relationships among   3        A. Yes.
 4   these entities were normal and typical parent and   4        Q. Did you determine that this corporate
 5   sibling corporate relationships.                    5     relationship was normal and typical?
 6          Do you see that?                             6        A. Yes.
 7       A. Yes.                                         7        Q. And did you identify any aspects to this
 8       Q. Which corporate relationships did you        8     relationship that you thought were atypical?
 9   analyze in this case?                               9        A. No.
10       A. The corporate relationships that I          10        Q. What about between BIPI and Roxane, did
11   analyzed were the relationship between BIC and     11     you determine that that corporate relationship was
12   Roxane, the relationship between BIC and BIPI, the 12     normal and typical?
13   relationship between Roxane and BIPI, the          13        A. Yes.
14   relationship between Roxane and Ben Venue, and     14        Q. And did you identify any aspects of that
15   then the kind of shared services that were -- and  15     relationship that were atypical?
16   the shared services and contracts that existed     16        A. No.
17   among these entities also including the shared     17        Q. Please explain the process by which you
18   services company that we discussed a moment ago. 18       evaluated whether the relationships among the
19       Q. Boehringer Ingelheim Services Center?       19     defendant corporations were, quote, normal and
20       A. Yes.                                        20     typical, quote?
21       Q. Focusing on the relationship between        21        A. Okay. I think I describe this, I'll
22   Roxane and BIC, did you determine that this        22     just kind of, if I could -- let me see if I can
                                                    51                                                         53
 1   corporate relationship was normal and typical?        1   locate this.
 2      A. Yes, on the basis of my research and            2          So essentially I kind of did -- I did
 3   practical experience in the area of corporate         3   the following things: I looked at -- I took as my
 4   governance it's my opinion that the relationship      4   baseline the two sort of two things, number one,
 5   between BIC, as a parent holding company, and         5   general patterns of corporate behavior, that is,
 6   Roxane was well within the normal range with          6   ordinary and customary corporate relationships in
 7   respect to corporate governance relationships and     7   parents and subsidiaries and in affiliate or what
 8   corporate formalities and corporate separateness      8   I sometimes call sibling corporations. Then I
 9   and maintaining an actual corporate identity on       9   looked at, in addition to ordinary and customary
10   behalf of both of those, with respect to both of     10   sort of practice, I looked at the sort of economic
11   those entities.                                      11   and public policy rationales related to the
12      Q. Did you identify any aspects to the            12   justification for giving these entities limited
13   relationship between Roxane and BIC that were        13   liability. So in other words, I looked at both
14   atypical?                                            14   kind of ordinary and customary business procedure
15      A. Any that were atypical? Well, it's my          15   and then the cost and benefits of those ordinary
16   opinion that every company is in some ways -- or     16   and customary kind of business practices among
17   every company and every relationship is in certain   17   relationships.
18   ways unique, but I don't recall any of the factors   18          Then I looked at the history of the
19   that I looked at as being kind of outside the        19   companies, you know, particularly Roxane, how it
20   normal range or even atypical in a                   20   came to be part of the BIC corporate family, if
21   parent/subsidiary relationship, so sitting here      21   you will, and how the relationship and
22   right now I can't think of any.                      22   interactions between and among these entities


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 1   began and then evolved over time.                     1      A. In the U.S. there are generally a couple
 2          As we talked about earlier, I looked at        2   of broad sort of sets of patterns of corporate
 3   the ordinary kind of corporate formalities. I         3   governance relationships that I am familiar with
 4   also looked at capitalization and the financial       4   and; that is to say, there are holding company
 5   condition of Roxane. And other kinds of things,       5   relationships with their operating companies, and
 6   financial transactions, and, finally, I looked at     6   there are operating companies that also are parent
 7   Matthew Perri's opinions and his deposition to the    7   companies. So I compared -- I looked at whether
 8   extent that he had a different perspective than I     8   or not BIC operated as a typical holding company,
 9   did with respect to some of these issues.             9   because some companies that hold them -- that sort
10      Q. Did you employ any particular                  10   of claim to be holding companies are in fact
11   methodology in reviewing these materials?            11   operating companies. So I looked at that. And I
12      A. Yes, as I said before, my methodology          12   looked at, on the basis of sort of the way that
13   involved kind of a two-part approach. One,           13   various kinds of corporations are organized in the
14   looking at, comparing the actual interactions        14   U.S. particularly financial firms and then
15   among these companies that I observed with           15   obviously nonfinancial firms. In this case where
16   ordinary and customary business practice and what    16   there are some differences in organizational
17   I regard as kind of industry norm, and then          17   structure and corporate governance I looked at
18   applying standards, long economic analysis of the    18   that to see how these corporations fit within the
19   public policy justification, the public policy       19   larger pattern.
20   benefits and costs associated with those to reach    20      Q. Are there any corporate groups of
21   a determination as to whether what the specific      21   companies that you specifically compared the
22   facts in this case that I looked at and these        22   corporate relationships you observed in this case
                                                    55                                                        57
 1   particular relationships especially as they kind      1   to?
 2   of evolved over time were both number one, normal     2      A. Again, the corporate relationships that
 3   and consistent with kind of U.S. corporate            3   exist follow two kind of large patterns. The
 4   practice and, two, whether they presented any         4   financial and the nonfinancial, so I compared the
 5   particular sort of -- what we would call kind of      5   companies in this case, which are nonfinancial
 6   an externality or cost or policy issues or            6   firms, to corporate governance relationships among
 7   problems.                                             7   nonfinancial firms.
 8      Q. By what standards do you measure whether        8      Q. Did you compare the relationships to any
 9   corporate relationships are, quote, normal and        9   specific firms or just to a generalized standard
10   typical, quote?                                      10   of behavior among nonfinancial firms in general?
11      A. Again, I measure them by two standards.        11      A. Two -- well, again in my experience and
12   The first standard is whether they are consistent    12   the basis of my research there is a pattern among
13   with standard practice with what we observe other    13   nonfinancial firms, that is -- that differs from
14   similarly situated, similarly organized              14   financial firms and I compared BIC to that. So it
15   corporations doing. And two, whether there are       15   would be all nonfinancial firms which in my view
16   any kind of special problems associated with a       16   have observable similarities about the way that
17   particular form of or particular pattern of          17   they operate.
18   behavior among parents and subsidiaries or sibling   18      Q. So there wasn't a particular set of
19   corporations.                                        19   companies that you looked at as a comparison?
20      Q. Did you compare the corporate                  20      A. Correct.
21   relationships in this case to any other particular   21      Q. Is the standard of what are normal and
22   sets of corporate relationships among companies?     22   typical corporate relationships informed by law?


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 1      A. Well in a sort of indirect way it is;           1   various corporate entities follow certain kind of
 2   that is to say, I don't look at law in figuring       2   patterns and best corporate governance patterns
 3   out what ordinary and standard practice is, but       3   and patterns of behavior that are not unique to
 4   my, I think as a matter of kind of sociology or       4   any particular region or state.
 5   anthropology people within corporations,              5       Q. I just want to try and be clear on this.
 6   particularly their lawyers, are going to be aware     6   So you compared what you observed about Roxane and
 7   of what law is and will tailor corporate behavior     7   the Boehringer defendants' corporate relationships
 8   in kind of what is known as in the shadow of the      8   to a generalized standard of what constitutes
 9   law. So in a kind of a feedback effect way, you       9   ordinary and typical behavior among nonfinancial
10   know, the law would be relevant, although I'm not    10   firms?
11   looking at the law as the sort of cause, but in      11       A. And relationships, interactions. In
12   the background it may shape what I observe in        12   other words, looking at what they did versus what
13   studying corporate governance, it's likely to have   13   we would -- what would be characterized as
14   shaped that.                                         14   ordinary or normal behavior.
15      Q. What are the sources you look to for a         15       Q. Describe a normal and typical or
16   standard of ordinary and typical corporate           16   ordinary parent corporate relationship?
17   behavior?                                            17       A. In a normal or typical parent
18      A. The sources I look to are what                 18   relationship is characterized by -- is defined by,
19   corporations actually do; that is to say, I study    19   I should say, control by the parent corporation of
20   corporate relationships, I study corporate groups,   20   the subsidiary corporation, so that generally we'd
21   and I study the interactions among these groups      21   expect to see 50 percent, usually far higher than
22   from a wide variety of perspectives and so it's a    22   that, of voting equity owned or controlled by the
                                                    59                                                        61
 1   matter of my research and experience as to, you     1     parent corporation. So that in every
 2   know, what literally what it is that we observe in  2     parent/subsidiary corporation context, by
 3   kind of the landscape of U.S. business.             3     definition, there is the potential for control of,
 4      Q. Is there literature on the issue of what      4     you know, the subsidiary by the parent
 5   are normal and typical corporate relationships,     5     corporation.
 6   academic literature?                                6           Then we would have in a typical
 7      A. There are a variety of studies that are       7     situation essentially the appointment, but
 8   related. They're kind of a variety of branches of   8     formally speaking, the election of the
 9   research that feed -- that kind of feed into this   9     subsidiaries' board of directors by the parent
10   but this is more or less, you know, observing what 10     corporation. We would see this characterized by
11   actually goes on. Although there certainly are,    11     the subsidiary corporation having relationships
12   you know, books that touch on this issue.          12     with external third parties and having
13      Q. Does the standard of what are normal and     13     relationships with the parent and having various
14   typical corporate relationships vary from state to 14     relationships with sibling or affiliate companies
15   state?                                             15     within the corporate group, all of which could be
16      A. No. In the U.S. there's essentially --       16     described in greater detail as having particular
17   these corporate governance relationships are       17     characteristics.
18   really national in scope; that is to say, if you   18        Q. Do you agree that as a holding company
19   think about a corporation that is, you know, maybe 19     BIC did not have any active businesses of its own?
20   headquartered in Atlanta like Coca-Cola or in some 20        A. Correct, yes.
21   other city that their corporate governance         21        Q. What was BIC's primary purpose?
22   relationships will -- the relationships among the  22        A. BIC's primary purpose was essentially as


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 1       Q. Are there other officers for a company         1   with managing its operations; is that correct?
 2   that you would consider top officers besides the      2       A. Can you give that to me again?
 3   CEO?                                                  3             (Record read.)
 4       A. Well, again it depends on the business,        4       A. Yes, the day-to-day business.
 5   but the person in charge of the finances generally    5       Q. And officers can include the president,
 6   would be the other kind of key person.                6   the treasurer, the CEO, the CFO, positions like
 7       Q. What about vice presidents in charge of        7   that are officers?
 8   certain aspects of the operating business?            8       A. Well with respect to your last question,
 9       A. From the standpoint of comparing really        9   just in terms of the operations of the business it
10   officers with directors those people would really    10   would include -- yeah, it would include a broad
11   be in a little bit of a different category.          11   sort of group of people, yes. So in terms of
12       Q. They generally have more responsibility       12   running the day-to-day business, that would
13   for day-to-day functioning?                          13   include a fairly broad group of people.
14       A. Well all of the officers -- that's what       14       Q. Is it your opinion that it is routine
15   the officers are supposed to do. The difference      15   for holding companies to provide certain services
16   is not so much day-to-day versus non day-to-day,     16   to subsidiaries such as legal, IT, financial and
17   rather the difference would be with respect to       17   accounting services?
18   kind of more discrete or specialized function as     18       A. Yes.
19   opposed to kind of an overall responsibility for     19       Q. Did BIC provide such services to its
20   the firm as a whole.                                 20   subsidiaries?
21       Q. Is there a difference in your mind            21       A. My recollection here is that most of the
22   between discrete and global responsibilities on      22   kind of shared services were provided by a
                                                    67                                                         69
 1   one hand and strategic or high level and day-to-      1   separate company with respect to certain of these
 2   day responsibilities on the other?                    2   services or with respect to others that BIPI
 3          MS. RIVERA: Object to form.                    3   provided those services.
 4       A. I think -- if I understood your question       4       Q. Is it normal and typical that such
 5   correctly, I think there are a number of              5   services would be provided by one subsidiary
 6   distinctions in that question. So, there are          6   corporation to another?
 7   difference between strategic decision making and      7       A. Yes, very common.
 8   nonstrategic decision making. And I think there       8       Q. What is that opinion based on?
 9   are also differences between global nonstrategic      9       A. It's based on my own experience as well
10   decision making and discrete nonglobal decision-     10   as research and analysis.
11   making. So you'd have two employees, like one        11       Q. Is it typical that one subsidiary
12   could be a CEO who's -- or a comptroller or          12   corporation will emerge as the primary operating
13   financial officer who are involved in every single   13   company within a group of subsidiary corporations?
14   aspect of the firm but much of their work may not    14       A. I'm not quite sure I understand what you
15   be strategic. And then you could have somebody       15   mean. I will say that it is extremely common that
16   with a specialized function, say, in research or     16   for one subsidiary among a group of subsidiaries
17   accounting or law or whatever, who may be -- who     17   to, for lack of a better term, really to be -- I
18   is also a nonstrategic but is not global because     18   don't know, kind of the alpha subsidiary, to be
19   they're involved only in a specific aspect of a      19   the subsidiary that's the most profitable, that
20   company's business.                                  20   gets the most attention, the most resources, its
21       Q. In general terms, as compared to a board      21   businesses evolve over time, some just become more
22   of directors, a corporation's officers are tasked    22   important than others as a consequence of the


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 1   market really.                                        1   relationship to Roxane.
 2       Q. And in such a circumstance is it typical       2      Q. Can you turn to paragraph 21 of your
 3   for the alpha subsidiary to participate in the        3   report?
 4   management of other subsidiary corporations?          4      A. Okay.
 5       A. What would be -- well, just to be very         5      Q. I'm looking at the second sentence. You
 6   clear here, I want to make it something that I        6   say that holding companies routinely nominate and
 7   think is important to clarify is -- at the risk of    7   elect boards of directors of their subsidiary
 8   stating the obvious but I think it's necessary, a     8   companies, participate in the management of their
 9   corporation of course is an inanimate object, as      9   subsidiaries, provide advice and strategy and
10   the saying goes. It has no -- what is the term,      10   financial support, and perform various services
11   no soul to damn, no body to kick or something like   11   for their operating subsidiaries including tax
12   that. So corporations cannot act, period. They       12   reporting, legal services, accounting services and
13   have to have -- there have to be individuals who     13   cash management services.
14   in, you know, corporations to act, so it's -- so a   14          Do you see that?
15   caveat to that is, you know, it's just a matter of   15      A. Yes.
16   corporate governance it's imperative to kind of      16      Q. My question is, is it typical for one
17   figure out some way to figure out to determine       17   subsidiary corporation to do all of those things
18   when a corporation is acting for many, many, many,   18   for another subsidiary corporation?
19   many, many reasons and when, you know, individuals   19      A. Yes, I understood that question when you
20   within the corporation are either acting on their    20   asked it before and yes.
21   own behalf or acting as agents for other             21      Q. And based on your review of the
22   corporations.                                        22   materials in this case, is it your opinion that
                                                    71                                                        73
 1          So the answer to your question is              1   BIPI, in fact, performed many of the functions
 2   complicated based on that, which is, one, it is       2   identified in paragraph 21?
 3   exceedingly common for, as I mentioned earlier,       3          MS. RIVERA: Object to form.
 4   for people in a sibling company or in a subsidiary    4       A. Yes. To put it as clearly as I can, as
 5   company to play multiple roles, to be agents both     5   I talked a moment ago, companies evolve at
 6   of the company that the sort of alpha company or      6   different rates and in different ways and it may
 7   one company within a corporate group and other        7   be that in a subsidiary's development it requires
 8   companies within the corporate group. It's also       8   certain services, say, legal service as an
 9   common for the subsidiary company to deal -- a        9   internal legal function before other subsidiaries
10   subsidiary company to deal with other subsidiary     10   within the group. And having already established
11   companies and for those companies to have            11   a legal function in subsidiary A, it often is
12   interactions and relationships.                      12   efficient, and the reason the holding companies
13          I just -- the point I want to make in         13   are considered to be, you know, efficient in the
14   brief is simply that these are two very different    14   economies that before -- in situations where it
15   things. It's one thing to say a company is acting    15   might otherwise not be cost effective or efficient
16   on behalf of another company, and that occurs        16   for another subsidiary to, as a free standing
17   sometimes and it also occurs sometimes that          17   entity create such a function, it could be
18   individuals within a subsidiary company are acting   18   economical for it to utilize the services provided
19   on behalf of that subsidiary company and they may    19   by the other subsidiary. So that's why it's
20   at various times act on behalf of other subsidiary   20   extremely common for affiliate companies to
21   companies, so we see both going on simultaneously    21   perform these services. And holding companies
22   and I saw both going on with respect to BIPI's       22   frequently have, not always, but very frequently


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 1   market really.                                        1   relationship to Roxane.
 2       Q. And in such a circumstance is it typical       2      Q. Can you turn to paragraph 21 of your
 3   for the alpha subsidiary to participate in the        3   report?
 4   management of other subsidiary corporations?          4      A. Okay.
 5       A. What would be -- well, just to be very         5      Q. I'm looking at the second sentence. You
 6   clear here, I want to make it something that I        6   say that holding companies routinely nominate and
 7   think is important to clarify is -- at the risk of    7   elect boards of directors of their subsidiary
 8   stating the obvious but I think it's necessary, a     8   companies, participate in the management of their
 9   corporation of course is an inanimate object, as      9   subsidiaries, provide advice and strategy and
10   the saying goes. It has no -- what is the term,      10   financial support, and perform various services
11   no soul to damn, no body to kick or something like   11   for their operating subsidiaries including tax
12   that. So corporations cannot act, period. They       12   reporting, legal services, accounting services and
13   have to have -- there have to be individuals who     13   cash management services.
14   in, you know, corporations to act, so it's -- so a   14          Do you see that?
15   caveat to that is, you know, it's just a matter of   15      A. Yes.
16   corporate governance it's imperative to kind of      16      Q. My question is, is it typical for one
17   figure out some way to figure out to determine       17   subsidiary corporation to do all of those things
18   when a corporation is acting for many, many, many,   18   for another subsidiary corporation?
19   many, many reasons and when, you know, individuals   19      A. Yes, I understood that question when you
20   within the corporation are either acting on their    20   asked it before and yes.
21   own behalf or acting as agents for other             21      Q. And based on your review of the
22   corporations.                                        22   materials in this case, is it your opinion that
                                                    71                                                        73
 1          So the answer to your question is              1   BIPI, in fact, performed many of the functions
 2   complicated based on that, which is, one, it is       2   identified in paragraph 21?
 3   exceedingly common for, as I mentioned earlier,       3          MS. RIVERA: Object to form.
 4   for people in a sibling company or in a subsidiary    4       A. Yes. To put it as clearly as I can, as
 5   company to play multiple roles, to be agents both     5   I talked a moment ago, companies evolve at
 6   of the company that the sort of alpha company or      6   different rates and in different ways and it may
 7   one company within a corporate group and other        7   be that in a subsidiary's development it requires
 8   companies within the corporate group. It's also       8   certain services, say, legal service as an
 9   common for the subsidiary company to deal -- a        9   internal legal function before other subsidiaries
10   subsidiary company to deal with other subsidiary     10   within the group. And having already established
11   companies and for those companies to have            11   a legal function in subsidiary A, it often is
12   interactions and relationships.                      12   efficient, and the reason the holding companies
13          I just -- the point I want to make in         13   are considered to be, you know, efficient in the
14   brief is simply that these are two very different    14   economies that before -- in situations where it
15   things. It's one thing to say a company is acting    15   might otherwise not be cost effective or efficient
16   on behalf of another company, and that occurs        16   for another subsidiary to, as a free standing
17   sometimes and it also occurs sometimes that          17   entity create such a function, it could be
18   individuals within a subsidiary company are acting   18   economical for it to utilize the services provided
19   on behalf of that subsidiary company and they may    19   by the other subsidiary. So that's why it's
20   at various times act on behalf of other subsidiary   20   extremely common for affiliate companies to
21   companies, so we see both going on simultaneously    21   perform these services. And holding companies
22   and I saw both going on with respect to BIPI's       22   frequently have, not always, but very frequently


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 1   have a very small number of employees. They're        1   already assumes part of my analysis, which is fine
 2   really set up to sort of management the investment    2   I just want to make it clear, and that is, you
 3   part and not to provide operational functions.        3   know, we have separate, identifiable entities,
 4       Q. Is it appropriate for one subsidiary           4   BIPI and Roxane, so that we can tell who's doing
 5   company to participate in the management of           5   what for whom at all purposes. And from the
 6   another subsidiary company?                           6   standpoint of sort of my methodology and analysis
 7          MS. RIVERA: Object to form.                    7   that's a very important distinction among various
 8          MR. FAUCI: What's the objection?               8   kinds of corporate governance relationships that
 9          MS. RIVERA: What do you mean by                9   we observe.
10   management, it's very vague.                         10       Q. You've opined that the corporate
11       Q. Go ahead.                                     11   relationship between Roxane and BIPI was, quote,
12       A. Oh, I'm sorry. As I mentioned before,         12   normal and typical, correct?
13   it's extremely common, routine, beyond routine,      13       A. Right.
14   normal for personnel within subsidiaries to be       14       Q. And you've opined that the corporate
15   actively involved in the management and operations   15   relationship between Roxane and its parent, BIC,
16   of sibling companies because, as I mentioned, it's   16   was, quote, normal and typical correct?
17   extremely common to see people in these various      17       A. Yes.
18   corporate groups wear a multitude of hats. And       18       Q. I understand from paragraph 21 of your
19   it's also extremely common for companies,            19   report that it is routine for holding companies to
20   subsidiary companies to contract with each other     20   provide various services for their operating
21   and to have interactions of a variety of kinds so    21   subsidiaries?
22   that the expertise of one is utilized or the         22       A. Correct.
                                                    75                                                        77
 1   services of one are utilized for the benefit or     1         Q. Is it also routine for -- and I
 2   the benefit of the other. The issue is always,      2     understand from your testimony -- correct me if
 3   from a corporate governance perspective and from a 3      I'm wrong -- that it is also your opinion that it
 4   perspective of evaluating whether this is           4     is routine for one subsidiary to provide those to
 5   appropriate or not, is whether or not it's          5     another?
 6   possible to figure out where one of these           6         A. Correct.
 7   subsidiary ends and the other one begins. So just   7         Q. Is it routine for one subsidiary to not
 8   to be -- just as a very general matter, a lot of    8     provide such services to another?
 9   your -- a lot of your questions kind of -- this     9         A. Well that's a difficult question. In
10   question, I should say, takes the form of is it    10     other words, it would be very surprising to see a
11   normal for a subsidiary to provide services for    11     holding company with two subsidiaries particularly
12   another subsidiary, and I just want to make it     12     if they're in, you know, where there are economies
13   clear, from my perspective this kind of jumps into 13     of scale or efficiencies to see no services being
14   the question kind of midway in the analysis in the 14     performed. So if you've said, oh, here are a
15   sense that, generally, what one of the things I'm  15     couple of subsidiaries and there are no
16   doing in this report and in my analysis in this    16     relationships or interactions between the two, I'd
17   case, is trying to figure out, you know, are these 17     say that is extremely rare.
18   companies separate and distinct, do they operate   18         Q. What services did you see Roxane provide
19   as separate and distinct businesses with kind of   19     BIPI?
20   unique integrity as discrete entities. And so      20         A. My recollection is that Roxane had a
21   when, you know, you say to me, well is BIPI        21     couple of sales forces and that one of these sales
22   providing services to Roxane let's say, that       22     forces would occasionally, particularly with


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 1   respect to new product launches by BIPI products,     1   dictated by fiduciary duties but rather by the
 2   go around and kind of include the BIPI product in     2   terms of their employment contract.
 3   its kind of marketing and sales or whatever. So I     3      Q. So if Mr. Berkle was an employee of BIPI
 4   saw that. There were some other things, too, I        4   he owed certain duties to BIPI that were incident
 5   believe, I don't know that might or might not be      5   to his employment, correct?
 6   described -- I would describe them as, you know,      6      A. That's correct.
 7   to the extent that the services are, you know --      7      Q. What were the duties that he would owe
 8   there are services where there's kind of give and     8   to Roxane if he was not an employee of Roxane?
 9   take on both sides in my observations these were      9      A. Well, as I mentioned before, he was an
10   situations in which, you know, Roxane provided a     10   agent of Roxane and as such he owed duties as an
11   service and received a benefit of some sort. And     11   agent. So in acting as an agency capacity the --
12   BIPI may have done the same.                         12   somebody who was working -- it it's very common
13       Q. Are you aware of whether any Roxane           13   for corporations to have nonemployees who are
14   employees served in corporate officer or             14   agents who have the same kinds of duties that
15   management positions within BIPI?                    15   officers and directors would have.
16       A. Whether any Roxane people were in             16      Q. Is there a test to look at to determine
17   management positions in BIPI; I don't recall.        17   whether -- when an employee of one company
18       Q. Do you recall whether any BIPI employees      18   participates in another company and is not
19   served in management capacities in Roxane?           19   employed by that company, is there a test to
20       A. There was a time when an officer at           20   determine when he is acting as an employee of
21   BIPI, Sheldon Berkle, was involved in certain        21   company A or as an agent of company B?
22   oversight responsibilities involving certain         22      A. Yes.
                                                    79                                                       81
 1   Roxane products, but in those situations he really    1       Q. What is that?
 2   wasn't doing anything by or on behalf of BIPI, I      2       A. So, the typical agency test is whether
 3   would not characterize him as a BIPI agent. I         3   the agent is -- on whose behalf the agent is
 4   would say that he was wearing two hats and he was     4   acting and whether the principal, which is the
 5   operating as a Roxane person.                         5   entity on whose behalf the agent is acting, has
 6       Q. Are you aware of whether he held any           6   agreed to accept the services of the agent. So
 7   employment position with Roxane?                      7   the idea is that if you have, you know -- again,
 8       A. As I said before, it's my understanding        8   extremely common for people to serve two hats,
 9   -- it's my belief and opinion that Mr. Berkle         9   that means they have dual agency relationships at
10   operated -- was acting as an agent of -- was         10   various levels within holding companies and their
11   acting as an agent of Roxane, so in that sense he    11   subsidiaries. And so while in some situations it
12   was a Roxane agent within the commonly held          12   may be -- that I've observed actually, it may be
13   understanding of that term.                          13   difficult to tell how -- in what capacity someone
14       Q. Can one -- if someone's an employee of        14   is operating. For a variety of reasons, peculiar
15   BIPI, you owe fiduciary duties to your employer,     15   to this case, it's extremely easy to tell, for
16   correct?                                             16   example, when Mr. Berkle is acting for Roxane and
17       A. Under state law if you're a -- fiduciary      17   when Mr. Berkle is acting for BIPI.
18   duties are typically limited to the very top         18       Q. What are those reasons?
19   officers CEO, CFO and the directors. And that the    19       A. Well, for one thing, both -- at all
20   other employees have obligations of good faith and   20   relevant times that I've observed in this case,
21   fair dealing in their relationships with their       21   Roxane manufactured particular products that were
22   firm for, you know, lower level employees is not     22   wholly separate and distinct from the products


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 1   that BIPI manufactured. So that fact is by no         1   capacities.
 2   means true for every, you know, subsidiary            2      Q. Do you have an opinion as to whether or
 3   situation. Often subsidiaries will -- separate        3   not Mr. Berkle was an employee of Roxane?
 4   subsidiaries will be in exactly the same line of      4      A. Again, I would say he is an agent. I
 5   business and manufacture the same product.            5   don't have an opinion about whether an
 6          So when Mr. Berkle is interacting with a       6   employee/employer relationship existed, no.
 7   Roxane product or engaged in oversight with           7          MR. FAUCI: Let's take a couple minute
 8   respect to a Roxane product, it's not confusing       8   break.
 9   because one can't say, oh, that's also a BIPI         9             (Recess.)
10   product so we don't really know what he's doing.     10      Q. Can I ask you to turn to paragraph 2 of
11   It's not a situation, this is very common where      11   your report again?
12   somebody can say, you know, this is something that   12      A. Certainly.
13   -- this is a decision made that applies to both      13      Q. Paragraph 2 of your report also states
14   companies. These are decisions sometimes Mr.         14   that you analyzed whether defendant corporations
15   Berkle would make decisions that related to BIPI     15   operated as separate and independent corporate
16   and sometimes he would make decisions when he was    16   entities.
17   working for -- was serving as an agent for Roxane.   17          Do you see that?
18   So that's one of the kind of peculiarities of kind   18      A. Yes, I do.
19   of the fact pattern in this case that was relevant   19      Q. Can you describe what it means for a
20   to my analysis.                                      20   corporation to function as a separate and
21       Q. Do you know whether Mr. Berkle was ever       21   independent corporate entity?
22   paid by Roxane?                                      22      A. Yes. So, basically the test here is
                                                     83                                                       85
 1       A. It's my understanding, and my opinion          1   whether or not sufficient distinctions among the
 2   was predicated on the kind of belief and              2   corporations have been made such that it's
 3   assumption that Mr. Berkle was paid by BIPI and       3   possible to tell when one corporation ends and
 4   never received -- and did not receive a Roxane        4   when the next corporation begins, so that there's
 5   paycheck.                                             5   sufficient difference in the product orientation
 6       Q. Was he an employee of BIPI?                    6   and in the -- and that there's, you know, when
 7       A. He was an agent of --                          7   we're talking about, you know, the parent and the
 8       Q. I'm sorry, was he an employee of Roxane?       8   sibling we can have some degree of certainty that
 9   I believe I said BIPI.                                9   if we're talking about, say for example, a
10       A. Right. Again, he was in agency                10   particular asset, we can say well, that asset
11   relationship with Roxane. Roxane was the             11   belongs to the parent or that asset belongs to the
12   principal. He was the agent. And whether he was      12   sibling and that we don't allow kind of people to
13   -- how that was thought of, it might have been an    13   make determinations at their kind of whim and
14   employee/employment relationship, it could have      14   caprice about, you know, who owns what and the
15   been a consulting. There are many, many kind of      15   like.
16   different vague and not very useful ways of          16       Q. The test is whether or not you can tell
17   characterizing that. But to my way of thinking       17   when one corporation begins and another ends; is
18   and my experience, the accurate way of               18   that correct?
19   characterizing Mr. Berkle's relationship with        19       A. Yes.
20   Roxane is that he served a dual -- in what is        20       Q. And the criteria you look to include
21   known as dual agency capacity. He was an agent       21   product -- different products?
22   both for Roxane and for BIPI in various              22       A. So that would be -- that would certainly


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 1   be, you know, that's not a -- that's not a            1      A. Yes.
 2   necessary condition, but it's certainly relevant      2      Q. And Roxane?
 3   in this case. There would be situations -- I only     3      A. Yes.
 4   mention this to be clear that there are situations    4      Q. Is this opinion or these opinions based
 5   I've observed where subsidiaries have virtually       5   on your review of any particular documents?
 6   identical products and services and yet kind of       6      A. My opinion is based on the totality of
 7   corporate separateness is nonetheless respected.      7   the record I tried to take into account.
 8   It's just where they have different businesses        8      Q. Is there academic literature on the
 9   it's simply easier.                                   9   issue of what it means for a corporation's
10       Q. Another criteria you mentioned was when       10   operations to be independent or separate and
11   you can tell when an asset belongs to one            11   distinct?
12   corporation or another?                              12      A. Excuse me. Is there --
13       A. Right.                                        13      Q. Academic literature on the issue of
14       Q. Are there other criteria you look to in       14   standard by which you measure whether a
15   determining whether or not a corporation operated    15   corporation's operations are independent or
16   as a separate and independent corporate entity?      16   separate and distinct?
17       A. Well, those are -- so, that's the --          17      A. Generally speaking, there are kind of
18   those are the major touchstones of the analysis;     18   best corporate governance practices and there is
19   that is to say, that as in every country including   19   policy analysis of why this is -- I think it's
20   this one companies are in some shape or fashion      20   generally accepted that this is the appropriate
21   permitted to be organized and corporations are       21   form of analysis and there are certainly academic
22   permitted to own other corporations and              22   work as to why that -- you know, analyzing why
                                                     87                                                        89
 1   corporations exist therefore under common           1     this is the appropriate kind of analysis to take.
 2   ownership. And, you know, the question is given     2         Q. The analysis being when -- whether or
 3   that that's the case when should there be some --   3     not you can determine when one corporation begins
 4   you know, when should we make a determination when 4      and another ends?
 5   does public policy suggest that these, you know,    5         A. Correct.
 6   kind of formal distinctions should be ignored, and  6         Q. And I'm sorry to be repetitive, I just
 7   basically they should be ignored when these -- it   7     want to be clear on it. The criteria you looked
 8   becomes difficult or impossible to make these       8     to in making that are if companies have separate
 9   determinations because when it's difficult or       9     products and whether it is possible to tell
10   impossible to make those determinations, then you  10     whether an asset belongs to one entity or another,
11   can get, you know, inappropriate strategic         11     are there any others?
12   behavior, the kind of inappropriate strategic      12         A. Well, in other words, so there are many,
13   behavior that we're trying -- that one wants to    13     many things one looks at and the goal of looking
14   avoid.                                             14     at these many things is to make that
15       Q. Difficult and impossible to make what       15     determination. So we look at things like, does
16   kind of determinations?                            16     the company have a board of directors, does the
17       A. When it's difficult or impossible to        17     company have assets, and the goal of looking at
18   tell when one company ends and when another one    18     all these various factors, these various
19   begins, you can get bad policy results when that   19     particular facts is to be able to make a judgment
20   is the case.                                       20     about whether the company is a discrete,
21       Q. Is it your opinion that BIPI operated as    21     distinguishable entity from its siblings and/or
22   an independent company?                            22     from its parent.


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 1   looking for that, what caused you to look for         1        AFTERNOON SESSION
 2   that?                                                 2           (12:52 a.m.)
 3      A. Well as a general matter I'm very               3
 4   interested in shared services and it's an area of     4          MS. RIVERA: I want to just -- can I say
 5   some focus in people who are interested in, you       5   one thing on the record before we start again,
 6   know, corporate relationships, et cetera. And I       6   Jeff?
 7   vaguely remember that there had been, you know,       7          MR. FAUCI: Sure.
 8   some kind of -- I don't know what you'd call them,    8          MS. RIVERA: First, I wanted to say that
 9   kind of seminars on this and so I was just            9   earlier the government asked for a copy of
10   generally doing a search looking for kind of         10   Professor Macey's March invoice, and while it was
11   booklets or seminars and I was interested to see,    11   my understanding that had been produced previously
12   in this particular case, that the particular         12   along with our response to the subpoena, to the
13   subsidiary in this case, the shared services         13   extent it has not, I have now provided Mr. Fauci a
14   subsidiary I call it, was actually mentioned in      14   copy of Professor Macey's invoice for his time in
15   the brochure as being an industry leader in this     15   March.
16   regard.                                              16          I also just want to state on the record,
17          MR. FAUCI: I'm at a sort of big switch        17   even though we've discussed this off the record,
18   so --                                                18   that Professor Macey has to be done and his
19          MS. RIVERA: Okay.                             19   deposition needs to be concluded by 4:00 p.m.
20          MR. FAUCI: -- I can either start now          20   tomorrow. And that we gave the government notice
21   and go for another ten minutes or we can just take   21   of this I think more than a week ago. And to the
22   a break now.                                         22   extent we need to make up that extra hour, we
                                                   119                                                       121
 1          MS. RIVERA: It's up to you, would you          1   notified the government we would be willing to
 2   rather go for a little bit longer?                    2   start early tomorrow. I just want to put on the
 3             (Discussion off the record.)                3   record that he does have to leave at 4:00 p.m.,
 4             (Luncheon recess: 11:57 a.m.)               4   but we're willing to accommodate that by starting
 5                                                         5   early tomorrow if need be.
 6                                                         6          MR. FAUCI: I will just say I have no
 7                                                         7   idea whether the invoice was or was not produced
 8                                                         8   and it certainly may have, so don't take anything
 9                                                         9   I've said as a representation that it wasn't
10                                                        10   produced previously. Thank you for giving us now.
11                                                        11          I think at the end of the day we can
12                                                        12   decide whether we need to start at eight or not.
13                                                        13          MS. POLLACK: Let me just say I agree
14                                                        14   with that. But I was never given notice that Mr.
15                                                        15   Macey was not available after four tomorrow.
16                                                        16          MR. FAUCI: An e-mail was sent to me and
17                                                        17   Laurie Oberman, Roz.
18                                                        18          MS. POLLACK: Yes, but I was not
19                                                        19   notified of that, I just want the record to
20                                                        20   reflect that.
21                                                        21
22                                                        22           JONATHAN R. MACEY,


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 1   reviously sworn, resumed and testified further as     1   products?
 2   follows:                                              2       A. Again, since Roxane, in my opinion,
 3                                                         3   exerted and maintained operational control over
 4            EXAMINATION (Continued)                      4   the pricing and marketing of its products, then
 5   BY MR. FAUCI:                                         5   this would exclude the notion that BIC was
 6      Q. Professor Macey, I'm going to go back to        6   exerting operational control simultaneously.
 7   paragraph 2 of your report.                           7       Q. I'm sorry, my question is: Are you
 8      A. Okay.                                           8   offering an opinion as to whether or not BIC
 9      Q. It says you evaluated whether Roxane            9   knowingly participated in the decision to set
10   maintained operational control over its business,    10   inflated AWPs for Roxane's products?
11   including operational control over the pricing and   11          MS. RIVERA: Object to form.
12   marketing of its products.                           12       A. I guess I'm struggling a little bit
13         Do you see that?                               13   because I did reach an opinion about whether BIC
14      A. Yes, I do.                                     14   knowingly participated or contributed in any
15      Q. Did you form an opinion about this?            15   pricing of any kind, so to that extent I did reach
16      A. Yes.                                           16   -- I didn't draw any conclusions with respect to
17      Q. What is it?                                    17   whether prices were inflated or not. I simply
18      A. That Roxane did, as this phrase says,          18   reached conclusions with respect to the corporate
19   operate as a separate and distinct corporate         19   governance including who set prices.
20   entity, maintain that Roxane did maintain            20       Q. Is it your opinion that BIC played no
21   operational control over its business, and that      21   involvement whatsoever in setting -- in the
22   that operational control included operational        22   decisions to set AWPs for Roxane's products?
                                                   123                                                       125
 1   control over the pricing and marketing of its         1      A. I don't recall seeing any evidence that
 2   products.                                             2   BIC was participating in setting prices or
 3       Q. Does your opinion encompass all of             3   marketing products that this was -- these
 4   Roxane's products or just the products identified     4   functions resided within Roxane.
 5   in the United States' complaint?                      5      Q. Do you have an opinion as to whether BIC
 6       A. My analysis included all Roxane's              6   or BIPI's conduct, to the extent it exists,
 7   general way of doing business, which would include    7   subjects them to liability under the False Claims
 8   all of Roxane's products not just the ones            8   Act?
 9   identified in the complaint.                          9      A. Do I have a personal opinion? I'm
10       Q. Are you offering any opinion as to the        10   sorry.
11   extent or nature of BIC's involvement in the         11      Q. Are you offering an opinion as to
12   pricing and marketing of Roxane's products?          12   whether or not BIC and/or BIPI are liable under
13       A. Yes, to the extent that I reached             13   the False Claims Act?
14   conclusions in the course of my analysis about       14      A. Oh, I'm not -- I don't consider myself
15   Roxane's operational control over its business,      15   an expert in the False Claims Act so I have not
16   and Roxane's marketing and pricing of its product,   16   analyzed -- I'm not offering any opinion with
17   I regard this operational control to be an           17   respect to sort of ultimate liability or other --
18   exclusive concept such that it would exclude other   18   my opinion is restricted to the issues I described
19   entities including BIC.                              19   in my report, the corporate governance, corporate
20       Q. Are you offering an opinion as to             20   control issues.
21   whether or not BIC knowingly participated in         21      Q. Have you analyzed what is the standard
22   decisions to set inflated AWPs for Roxane's          22   for liability under the False Claims Act?


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 1   materialized, isn't that a different question than    1   King, I'm not quite certain of all four of their
 2   whether or not Roxane and BIPI were part of the       2   names. But the basic idea is that they were
 3   part of the Ethical Pharmaceuticals Business Unit?    3   people at BIPI with expertise in one kind of
 4      A. Well, no. Or to put it differently, I'm         4   subsegment of the Roxane constellation of
 5   regarding -- if you look at the history of this       5   products, if you will, that is branded generics
 6   Ethical Pharmaceuticals Business Unit it was          6   and branded drugs and those people were brought
 7   basically an effort to achieve certain goals, that    7   in, as I say, not to, you know -- and, literally,
 8   the idea was we're going to work to achieve           8   as we see I think in this organizational chart,
 9   certain goals, so I'd regard that as sort of the      9   kind of layered into the Roxane organization.
10   idea. And so to the extent that this -- that         10   They retained their roles at BIPI but they also
11   there was an idea or a goal associated with this,    11   took over some responsibilities at, you know -- I
12   I think that one can make an assessment about        12   wouldn't say take over some responsibilities but
13   whether or not that goal was reached or achieved.    13   they were involved, as I think Mr. Berkle
14      Q. Starting with 1994, who was in charge of       14   testified, in with high level supervisory roles
15   the business unit?                                   15   over the sales and marketing of Roxane's branded
16      A. My recollection -- I can't recall              16   and branded generic products.
17   whether Mr. Berkle came in to the business unit in   17       Q. So we've identified Mr. Leonetti, Mr.
18   '94 or '96, it's my recollection that he was in      18   Fulton, Mr. Ciarelli and maybe Mr. King?
19   charge from the beginning, although I may be         19       A. I think that's right.
20   mistaken about that.                                 20       Q. Are these -- these people were BIPI
21      Q. I direct your attention to paragraph 86        21   employees, correct?
22   of your report. You're talking about an October      22       A. It's my opinion and belief that prior to
                                                   159                                                       161
 1   1998 reorganization. I'm going to quote midway        1   this 1998 corporate reorganization, these people
 2   through the paragraph but feel free to read the       2   were exclusively BIPI employees but at some point
 3   whole paragraph. You write: "To further these         3   they moved over to -- they took on kind of a
 4   goals, certain BIPI employees were given high         4   second hat, they took on a second job just in the
 5   level supervisory roles over the sales and            5   way that Mr. Berkle did who had responsibilities
 6   marketing of Roxane's brand and branded generic       6   both in Roxane and in BIPI. These people were
 7   products."                                            7   given responsibilities in Roxane -- in Roxane and
 8          Who are you referring to?                      8   in BIPI as well.
 9      A. I think this is actually very poorly            9      Q. Did they become Roxane employees?
10   worded. Here what I'm referring to is that for a     10      A. Again, they became agents of Roxane. I
11   brief period of time with respect to certain of      11   have no opinion about, you know, whether they
12   Roxane's drugs, like Mr. Russillo who is placed in   12   became employees, but they were acting as agents
13   as an agent with dual responsibilities, there were   13   of Roxane, to the extent they were involved in the
14   some other people who were also, if you will,        14   high level supervision of these subset products
15   seconded, given additional responsibilities beyond   15   for this 1998, late 1998 period of time.
16   their responsibilities to BIPI were also given       16      Q. Is there a test for determining when
17   responsibilities at Roxane.                          17   someone becomes an agent of a company?
18      Q. Who were they?                                 18      A. Yes.
19      A. So these people, my recollection is,           19      Q. What is that?
20   there was Leonetti, there were three -- I think      20      A. Okay. So the test hasn't -- well, so
21   four of these people, I don't recall, Fulton and     21   the test is whether or not someone is offered and
22   Leonetti are two of them. Ciarelli, I think maybe    22   is willing to serve an organization, whether that


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 1   organization or principal, as the agent's             1   as BIPI employees if it's your testimony that they
 2   principals, as the term is used, to act by and on     2   are really also Roxane agents?
 3   behalf of the principal. So the basic test for an     3       A. Right. Well two things -- and again the
 4   agent is kind of an offer and acceptance of           4   first is that, as I mentioned earlier, I don't
 5   performing the role of an agent. And there is         5   think this is the most artfully worded paragraph
 6   absolutely no requirement in agency principals        6   I've ever written, and second that it's my
 7   that the agent be compensated by the principal in     7   recollection -- it was my belief at the time I
 8   the form of being an employee or kind of direct       8   wrote this and still my belief that at the time
 9   cash, but the agency is, you know, is an extremely    9   these people were sort of given their second hat,
10   well recognized concept in business organizations.   10   they were, in fact, BIPI employees. That's what
11      Q. You're aware that Werner Gerstenberg,          11   they were exclusively BIPI -- you know, that they
12   for instance, served as an employee of both Roxane   12   didn't have an agency relationship prior to this.
13   and BIC, correct?                                    13       Q. Prior to 1998?
14      A. Again, as I mentioned with respect to          14       A. Right. Prior to these October 1998
15   these other people, my determination in terms of     15   organizational changes.
16   corporate organization relate to fiduciary           16       Q. So it's your belief, as you sit here
17   relationships, agency relationships,                 17   today, that Mike Leonetti, Jim King, Gregg
18   responsibilities of reporting. I have made no        18   Ciarelli, Greg Fulton's agency relationship
19   determination about people's employment              19   started with Roxane in 1998?
20   relationships, although I will say that, generally   20       A. Sitting here right now, that's my
21   speaking, somebody who has a title of president      21   recollection.
22   and COO is, generally speaking, is considered to     22       Q. Are there circumstances when -- taking a
                                                   163                                                       165
 1   be an employee of the company for which they are a    1   step back from there, the Roxane situation.
 2   president or COO.                                     2       A. Okay.
 3      Q. Are you aware of formal documents, board        3       Q. Are there circumstances when an employee
 4   minutes or otherwise, that designated either Mike     4   of one subsidiary works on behalf of another
 5   Leonetti, Greg Fulton, Jim King, Gregg Ciarelli to    5   subsidiary and does not thereby become an employee
 6   be agents of Roxane?                                  6   -- an agent of the second subsidiary? I can give
 7      A. The 1998 reorganization which gave these        7   that another shot if you want.
 8   people certain high level oversight                   8       A. No, no, no. Well I just want to focus
 9   responsibilities would have satisfied the             9   on the term, you used the word on behalf of, so
10   requirements for the creation of an agency           10   the essence of an agency relationship is that as
11   relationship.                                        11   an agent I'm working on behalf of the principal.
12      Q. Are there -- what are the requirements         12   So I could -- so my answer to the question is, if
13   for the creation of an agency relationship?          13   the person who's performing this capacity is doing
14      A. So the agent has to be willing to act on       14   so knowingly and volitionally, and if the
15   the principal's behalf, in this case the agents      15   principal has acquiesced or accepted the
16   are the people who at BIPI who are being asked to    16   relationship, then it's axiomatic that it's an
17   put on a second Roxane hat. And the principal has    17   agency relationship because that's what an agency
18   to accept that the agent is going to be acting by    18   relationship.
19   and on behalf of it, the principal.                  19       Q. Just to be clear, if we have a situation
20      Q. In that paragraph 86 of your report you        20   with multiple corporations within a single
21   write that certain BIPI employees were given high    21   corporate family, when an employee of subsidiary A
22   level supervisory roles, why did you refer to them   22   accepts and does work on behalf of subsidiary B,


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 1   he automatically becomes an agent of B?               1   companies -- it's easy to tell because these
 2       A. Again, if those conditions are met; that       2   companies actually have different, discrete
 3   is to say, that person then has a responsibility,     3   product and nobody is saying, that -- there are no
 4   has a duty to act on that principal's behalf. If      4   arguments that BIPI is not claiming any particular
 5   that's -- and subject to that principal's control.    5   products for its own and, you know, the
 6   So those are the definitions of an agent -- you       6   government, as far as I know, is not alleging that
 7   could imagine a situation where the person is         7   these -- you know, certain products that were
 8   acting not on behalf of the subsidiary, the           8   Roxane products were really BIPI products, so, you
 9   principal but acting on behalf of, you know, the      9   know, we can tell on whose behalf these people are
10   original employer, in which case you would have a    10   operating as agent because we know, we can see
11   -- you might not have an agency relationship. But    11   whose company's products they were involved with,
12   as long as you're -- I accept your phraseology and   12   even if it was at an extremely, you know, kind of
13   this person is actually acting not on behalf of      13   tangential and high level.
14   some other entity but on behalf of, you know,        14         MR. FAUCI: Why don't we take a five-
15   Roxane, let's say, or the subsidiary that is         15   minute break.
16   pursuant to which the employee is wearing this       16             (Recess.)
17   second hat, then that's an agency relationship.      17   BY MR. FAUCI:
18       Q. In the Roxane case we have Shelly             18      Q. Professor Macey, I'm going to show you
19   Berkle, who was an employee of BIPI and you've       19   what's been marked by the court reporter as
20   described him as an agent of Roxane; is that         20   Exhibit 8.
21   correct?                                             21             (Whereupon, employee bulletins
22       A. Yes.                                          22   dated October 23, 1998, was marked as Exhibit

                                                   167                                                       169
 1       Q. And Mike Leonetti, Greg Fulton, Jim          1     Macey 008 for identification, as of this date.)
 2   King, Gregg Ciarelli report to Shelly Berkle,       2        Q. Take a moment to familiarize yourself
 3   correct?                                            3     with it and let me know when you're ready for a
 4       A. I believe that's correct.                    4     question.
 5       Q. And so how would you determine whether       5               (Witness reviewing document.)
 6   they are reporting to the principal, Roxane, or     6        A. Okay.
 7   the principal, BIPI?                                7        Q. Is this a to Employees Bulletin both
 8       A. Well two things: One -- well, three          8     dated October 23rd, 1998?
 9   really. One, this is not an uncommon situation.     9        A. Yes.
10   It is, I think, the -- I would venture to say      10        Q. Have you reviewed these documents
11   virtually without exception one observes these     11     before?
12   kind of dual relationships which involve somebody 12         A. Yes, I have.
13   who is accepting one paycheck from one company, 13           Q. Do you see that the first is signed by
14   who is kind of seconded, if you will, or acting as 14     Werner Gerstenberg?
15   an agent wearing a second hat with respect to a    15        A. Yes.
16   second company. Point number two is the            16        Q. And do you see that below that it says,
17   implication behind your question is absolutely     17     president, Boehringer Ingelheim Corporation?
18   correct, which is that sometimes it's very         18        A. Yes.
19   difficult to tell. And that's a problem. Third,    19        Q. Does that suggest to you that Mr. Berkle
20   however, in this case, because of the particular   20     was authoring this Employee Bulletin in the course
21   facts of this case -- and I'm not talking about    21     of his employment for Boehringer Ingelheim
22   any other, but with respect to this case where the 22     Corporation?


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